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                                   IN THE UNITED STATES DISTRICT COURT

                                       FOR THE DISTRICT OF OREGON

                                           PORTLAND DIVISION

     MATS JARLSTROM,                                        Case No. 3:17-cv-00652-SB

                      Plaintiff,                            DEFENDANTS’ SUPPLEMENTAL BRIEF
                                                            IN RESPONSE TO PLAINTIFF’S
                                                            PROPOSED JUDGMENT
              v.

     CHRISTOPHER D. ALDRIDGE, WILLIAM
     J. BOYD, DAREN L. CONE, SHELLY
     DUQUETTE, JASON J. KENT, LOGAN T.
     MILES, RON SINGH, DAVE M. VAN
     DYKE, SEAN W. ST. CLAIR, AMIN
     WAHAB, and OSCAR J. ZUNIGA JR., in
     their official capacities as members of the
     Oregon State Board of Examiners for
     Engineering and Land Surveying,

                      Defendants.


              Defendants submit this supplemental brief in response to Plaintiff’s proposed form of

     judgment submitted during Monday’s hearing. Defendants oppose both the proposed facial and

     as-applied terms in the proposed form of judgment.
Page 1 -   DEFENDANTS’ SUPPLEMENTAL BRIEF IN RESPONSE TO PLAINTIFF’S
           PROPOSED JUDGMENT
           TBW/c4m/8649171-v1
                                                    Department of Justice
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             The proposed judgment would adjudicate the facial validity of the statutes. Defendants

     oppose both the consideration of facial validity and the entry of facial relief in any form.

     Defendants oppose consideration of facial validity for all the reasons described in the briefs filed

     in support of Defendants’ Motion for Entry of Judgment. In short, Board of Trustees of State

     University of New York v. Fox, 492 U.S. 469, 484-86 (1989) teaches that an as-applied challenge

     should be addressed first and an overbreadth challenge should only be considered when an as-

     applied challenge fails. Defendants cited numerous cases applying that rule. In addition, to

     entertain an overbreadth challenge, the court must make a threshold determination that there is a
     “realistic danger that the statute itself will significantly compromise recognized First

     Amendment protections of parties not before the Court.” Members of City Council of Los

     Angeles v. Taxpayers for Vincent, 466 U.S. 789, 801 (1984). Otherwise, there would be no

     reason to consider overbreadth. No such danger exists here.

             Yet, if the court decided to address overbreadth here, then before the court could enter

     facial relief, it would have to conclude that the overbreadth is “not only . . . real, but substantial

     as well, judged in relation to the statute’s plainly legitimate sweep.” Broadrick v. Oklahoma,

     413 U.S. 601, 615 (1973). There is no basis for facial relief here because that standard is not

     met, but defendants would appreciate having the opportunity to brief the issue should the court

     decide to address it. In any event, three points merit brief mention. First, the proposed facial

     injunctive terms demonstrate why addressing overbreadth is inappropriate in this case. Plaintiff

     seeks injunctive relief on behalf of “all others similarly situated.” Yet, to address overbreadth,

     the court would need to find that the statute “applies to . . . conduct more likely to be protected

     by the First Amendment than” plaintiff’s own activities. Vincent, 466 U.S. at 802. Plaintiff

     cannot meet that standard given that he only wants to protect people in the same position as

     himself. And because he only wants to protect others like him, an overbreadth remedy is no

     more effective than an as-applied remedy. Second, it is not categorically unlawful for a

     professional board to regulate the commercial and/or the professional speech of non-licensees.
Page 2 - DEFENDANTS’ SUPPLEMENTAL BRIEF IN RESPONSE TO PLAINTIFF’S
          PROPOSED JUDGMENT
         TBW/c4m/8649171-v1
                                                     Department of Justice
                                                    100 SW Market Street
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                                             (971) 673-1880 / Fax: (971) 673-5000
     Yet that would be the impact of entering the proposed facial terms. Third, even if the court were

     inclined to impose relief on facial grounds, “the overbreadth doctrine does not apply to

     commercial speech,” so commercial speech must be excepted from any facial relief that were to

     be entered. Village of Hoffman Estates v. Flipside, Hoffman Estates, Inc., 455 U.S. 489,

     497 (1982). The overbreadth doctrine should similarly not apply to professional speech for the

     same reasons that it does not apply to commercial speech. As a result, the terms of any facial

     relief entered should be as limited as the as-applied terms Defendants have already proposed.

              Defendants also object to the proposed as-applied terms. The declaratory as-applied
     terms both are inconsistent with the First Amendment and broader than justified by the facts of

     this case. On the legal question, the parties agree that the speech for which Mr. Jarlstrom was

     punished can be classified as neither commercial nor professional speech. But the Board

     unquestionably does retain authority under First Amendment law to regulate those categories of

     speech. See Nat'l Inst. of Family & Life Advocates v. Harris, 839 F.3d 823, 839 (9th Cir. 2016)

     (petition for certiorari docketed by Nat’l Inst. Of Family and Life Advocates, DBA, NIFLA,

     et al. v. Xavier Becerra, Attorney General of Cal., et al., U.S. March 21, 2017) (stating that states

     may regulate professional speech); Florida Bar v. Went For It, Inc., 515 U.S. 618, 623–24

     (1995) (stating that states may regulate misleading commercial speech); Central Hudson Gas &

     Elec. Corp. v. Pub. Serv. Comm'n of New York, 447 U.S. 557, 561–62 (1980) (stating that states

     may regulate commercial speech that is not misleading and does not involve unlawful activity).

     The judgment should reflect that fact. Otherwise, if the judgment were entered as proposed,

     Mr. Jarlstrom would permanently be permitted to solicit any engineering business and engage in

     any engineering work he desired, whether that includes traffic engineering or designing bridges,

     buildings, or other structures in Oregon, with impunity and regardless of his qualifications

     (which have not been established and are not at issue in this case) or the impact on public health

     and safety. Moreover, because no commercial or professional speech is at issue in this case, the


Page 3 -   DEFENDANTS’ SUPPLEMENTAL BRIEF IN RESPONSE TO PLAINTIFF’S
           PROPOSED JUDGMENT
           TBW/c4m/8649171-v1
                                                    Department of Justice
                                                   100 SW Market Street
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     entry of such a broad ruling would not be justified by the facts established in this case and

     would, as a result, constitute an advisory opinion that exceeds the court’s authority.

              Defendants’ objections to the proposed as-applied injunctive terms are narrower. First,

     the limitation of the proposed injunction to a “paid employment or contractual relationship”

     presupposes that all professional and commercial speech occurs in the context of such a

     relationship. That is not always the case. Speech by which a person seeks to solicit a paid

     relationship can constitute commercial speech. And free professional advice can threaten public

     safety just as surely as paid professional advice. Second, the injunctive term that would permit
     Mr. Jarlstrom to refer to himself as an engineer in any context would allow him to use that term

     in a misleading way to suggest that he is a licensed engineer. Defendants have the absolute right

     to regulate the use of the term “engineer” in that context as misleading commercial speech.

     See Central Hudson Gas & Elec. Corp., 447 U.S. at 557 (misleading commercial speech is not

     protected by the First Amendment).

              In short, Defendants object to the both the facial and as-applied relief proposed by

     plaintiff.

              DATED December 8 , 2017.

                                                           Respectfully submitted,

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Page 4 -   DEFENDANTS’ SUPPLEMENTAL BRIEF IN RESPONSE TO PLAINTIFF’S
           PROPOSED JUDGMENT
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